                          Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 1 of 7



                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                    6   (mweinstein@cooley.com)
                        KATHLEEN HARTNETT (314267)
                    7   (khartnett@cooley.com)
                        JUDD LAUTER (290945)
                    8   (jlauter@cooley.com)
                        ELIZABETH L. STAMESHKIN (260865)
                    9   (lstameshkin@cooley.com)
                        3175 Hanover Street
                   10   Palo Alto, CA 94304-1130
                        Telephone:    (650) 843-5000
                   11   LEX LUMINA PLLC
                        MARK A. LEMLEY (155830)
                   12   (mlemley@lex-lumina.com)
                        745 Fifth Avenue, Suite 500
                   13   New York, NY 10151
                        Telephone: (646) 898-2055
                   14
                        CLEARY GOTTLIEB STEEN & HAMILTON LLP
                   15   ANGELA L. DUNNING (212047)
                        (adunning@cgsh.com)
                   16   1841 Page Mill Road, Suite 250
                        Palo Alto, CA 94304
                   17   Telephone: (650) 815-4131
                        Counsel for Defendant Meta Platforms, Inc.
                   18

                   19                             UNITED STATES DISTRICT COURT

                   20                          NORTHERN DISTRICT OF CALIFORNIA

                   21                                  SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                       Case No. 3:23-cv-03417-VC-TSH

                   23     Individual and Representative Plaintiffs,   JOINT ADMINISTRATIVE MOTION TO FILE
                                                                      UNDER SEAL JOINT DISCOVERY LETTER
                   24        v.                                       AND EXHIBITS

                   25   META PLATFORMS, INC., a Delaware
                        corporation;
                   26
                                                       Defendant.
                   27

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ATTORNEYS AT LAW
                                                                                         ADMIN. MOTION TO SEAL
                                                                                          3:23-CV-03417-VC-TSH
                           Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 2 of 7



                    1           Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Plaintiffs Richard Kadrey, Sarah
                    2   Silverman, Christopher Golden, Michael Chabon, Ta-Nehisi Coates, Junot Diaz, Christopher
                    3   Golden, Richard Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise
                    4   Snyder, Ayelet Waldman, and Jacqueline Woodson (collectively, “Plaintiffs”) and Defendant Meta
                    5   Platforms, Inc. (“Meta”) (collectively, the “Parties”) respectfully request leave to file under seal the
                    6   portions of the below referenced documents under seal. The Parties have met and conferred
                    7   regarding the portions of the documents they request to be filed under seal.
                    8           Specifically, the Parties seek to seal unredacted portions of the Joint Discovery Letter Brief
                    9   (“Joint Letter”) filed pursuant to the Court’s Order Granting Joint Administrative Motion to File
                   10   Combined Joint Statement Re: Discovery Dispute (ECF 103), unredacted portions of the
                   11   Declaration of Kathleen Hartnett (“Hartnett Declaration”), unredacted portions of the Declaration
                   12   of Holden Benon (“Benon Declaration”), and Exhibits 6 and 7 to the Hartnett Declaration. As
                   13   discussed below, the portions of these documents that Meta seeks to seal either (1) directly quote
                   14   from communications over which Meta has asserted attorney-client privilege, and which are the
                   15   basis of the dispute underlying the Joint Letter or (2) refer to or reflect a publicly available LinkedIn
                   16   post that discusses and includes screenshots of those communications (“LinkedIn Post”).
                   17   Specifically, the quotes and screenshots are of messages that a former part-time Meta employee
                   18   and AI researcher, Mr. Tim Dettmers, posted on the “Discord” platform and which conveyed the
                   19   content of legal advice that Mr. Dettmers had received from Meta in-house attorneys (“Subject
                   20   Communications”). A [Proposed] Order is filed concurrently herewith, and the Parties refer the
                   21   Court to the Joint Letter itself and the supporting evidence attached thereto as further support for
                   22   this administrative motion.
                   23
                         Document                                Sealing Request
                   24
                         Joint Discovery Letter Brief                   Redacted portions
                   25
                         Hartnett Declaration                           Redacted portions
                   26
                         Benon Declaration                              Redacted portions
                   27
                         Exhibit 6 to Hartnett Declaration              Entire document
                   28
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                                                                           1                             3:23-CV-03417-VC-TSH
                             Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 3 of 7



                    1
                         Exhibit 7 to Hartnett Declaration            Entire document
                    2

                    3   I.      LEGAL ARGUMENT
                    4           Though the presumption of public access to judicial proceedings and records is strong, it

                    5   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit

                    6   treats documents “attached to dispositive motions differently from records [i.e., documents]

                    7   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                    8   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For

                    9   non-dispositive motions, such as the Parties’ Joint Letter, the “good cause” standard applies.

                   10   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);

                   11   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in

                   12   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the

                   13   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-

                   14   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                   15   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).

                   16           The portion of the Joint Letter that quotes from the Subject Communications should be

                   17   sealed because it conveys highly sensitive information, namely information that Meta has asserted

                   18   is protected by attorney-client privilege.      The Joint Letter contains a direct quote from

                   19   communications over which Meta has claimed privilege. Indeed, the dispute underlying the Joint

                   20   Letter and supporting evidence submitted by the Parties specifically concerns Meta’s assertion that

                   21   the Subject Communications reflect legal advice that Mr. Dettmers and his research team received

                   22   from Meta’s in-house attorneys. (See, e.g., Joint Letter; Declaration of Luke Zettlemoyer (attached

                   23   to Joint Letter), ¶ 4.) Meta has argued that the Subject Communications are privileged and that the

                   24   privilege over them has not been waived. Plaintiffs disagree. Further disclosure of quotes from

                   25   the Subject Communications would thus be harmful to Meta, at least until resolution of the dispute.

                   26           Moreover, in the dispute underlying the Joint Letter, Meta seeks entry of a protective order

                   27   preventing Plaintiffs from using the Subject Communications. If Meta prevails, disclosure of the

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   PALO ALTO                                                             2                               3:23-CV-03417-VC
                              Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 4 of 7



                    1   Subject Communications would be prohibited. Sealing of the Subject Communications now is
                    2   therefore appropriate.
                    3            The portions of the Hartnett Declaration, Benon Declaration, and the remaining portions of
                    4   the Joint Letter that the Parties seek to seal, as well as Exhibits 6 to the Hartnett Declaration refer
                    5   to or consist of the LinkedIn Post. Exhibit 7 is the LinkedIn profile of the individual that created
                    6   and published the LinkedIn Post. Although these documents do not contain the screenshots of or
                    7   quote from the Subject Communications, because the LinkedIn Post is publicly accessible, the
                    8   Parties seek to seal references to the identity of the poster, direct quotes from the LinkedIn Post,
                    9   and the LinkedIn Post itself to avoid further proliferation of the Subject Communications.
                   10            The Parties have taken care to narrowly tailor this request. They have limited their request
                   11   only to a quote from the Subject Communications themselves, references to the name of the
                   12   individual that created the LinkedIn Post, that individual’s LinkedIn profile, quotes from the
                   13   LinkedIn Post, and the LinkedIn Post itself. Other relevant information important to this case and
                   14   the Parties’ dispute will still be accessible in the public record. Accordingly, the Parties’ sealing
                   15   request is the least restrictive method of protecting Meta’s privileged information, while this dispute
                   16   is pending.
                   17   II.      CONCLUSION
                   18            Pursuant to Civil Local Rule 79-5, redacted and unredacted versions of the above-listed
                   19   documents accompany this Administrative Motion. For the foregoing reasons, the Parties request
                   20   leave to file under seal the
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   PALO ALTO                                                              3                                 3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 5 of 7



                    1   Dated: June 28, 2024                           COOLEY LLP
                    2

                    3                                            By:       /s/ Colette Ghazarian
                                                                       Bobby Ghajar
                    4                                                  Mark Weinstein
                                                                       Kathleen Hartnett
                    5                                                  Judd Lauter
                                                                       Liz Stameshkin
                    6                                                  Colette Ghazarian
                    7                                                  LEX LUMINA PLLC
                                                                       Mark A. Lemley
                    8
                                                                       CLEARY GOTTLIEB STEEN &
                    9                                                  HAMILTON LLP
                                                                       Angela L. Dunning
                   10
                                                                       Attorneys for Defendant
                   11                                                  META PLATFORMS, INC.
                   12

                   13

                   14   Dated: June 28, 2024                           JOSEPH SAVERI LAW FIRM, LLP
                   15

                   16                                            By:        /s/ Joseph R. Saveri
                                                                       Joseph R. Saveri
                   17                                                  Cadio Zirpoli
                                                                       Christopher K.L. Young
                   18                                                  Holden Benon
                                                                       Aaron Cera
                   19
                                                                       Matthew Butterick
                   20
                                                                       Attorneys for Plaintiffs
                   21                                                  RICHARD KADREY, SARAH
                                                                       SILVERMAN, and CHISTOPHER
                   22                                                  GOLDEN
                   23

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   PALO ALTO                                                 4                                  3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 6 of 7



                    1   Dated: June 28, 2024                     CAFFERTY CLOBES MERIWETHER &
                                                                 SPRENGEL, LLP
                    2

                    3
                                                                 By:       /s/ Bryan L. Clobes
                    4                                                  Bryan L. Clobes (pro hac vice)
                                                                       Alexander Sweatman (pro hac vice)
                    5
                                                                       VENTURA HERSYE & MULLER, LLP
                    6                                                  Daniel J. Muller
                    7

                    8                                                  Attorneys for Plaintiffs
                                                                       MICHAEL, CHABON, TA-NEHISI
                    9                                                  COATES, JUNOT DIAZ, CHRISTOPHER
                                                                       GOLDEN, RICHARD GREER, DAVID
                   10                                                  HENRY HWANG, MATTHEW KLAM,
                                                                       LAURA LIPPMAN, RACHEL LOUISE
                   11                                                  SNYDER, AYELET WALDMAN, and
                                                                       JACQUELINE WOODSON
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   PALO ALTO                                                 5                                3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 104 Filed 06/28/24 Page 7 of 7



                    1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)
                    2          I hereby attest that I obtained concurrence in the filing of this document from each of the
                    3   other signatories. I declare under penalty of perjury that the foregoing is true and correct.
                    4
                         Dated: June 28, 2024
                    5                                                         COOLEY LLP
                    6                                                         /s/   Colette Ghazarian
                    7                                                         Attorneys for Defendant
                                                                              Meta Platforms, Inc.
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   PALO ALTO                                                              6                                 3:23-CV-03417-VC
